CaSe 2:05-cr-20309-.]P|\/| Document 5 Filed 08/25/05 Page 1 of 2 Page|D 7

|N THE UN|TED STATES D|STRICT COURT M
FOR THE WESTERN DlSTRlCT OF TENNESSEE F|LED i `\’ iJiIi

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Piaimifr, ) cR. No. 05-20309-Ml CLE§;¢\DU§ C-; "Lé,»IPQOURT \
) " "
vs. )
)
GERALD DAvENPoRT, )
)
Defendant. )

ORDER

 

The United States having requested that the Court unseal the |ndictment, and
the Court being satisfied that sealing is no longer necessary, it is hereby
ORDERED that all ofthe above document is UNSEALED.

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Memphis, Tennessee UN|TED STATES MAG|STRATE JUDGE

/,_

omas A. Co|thurst
Assistant U.S. Attorney

  
 

APPROVED:

this document entered on the docket§heet in compliance
with Rule 55 endior 32lb) FRCrP on "

 

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This notice confirms a copy of the document docketed as number 5 in
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Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

